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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                         )
MOHAMMAD HILMI NASSIF &                  )
PARTNERS,                                )
                                         )
             Plaintiff,                  )
                                         )
             v.                          )      No. 17-cv-2193 (KBJ)
                                         )
REPUBLIC OF IRAQ, et al.,                )
                                         )
             Defendants.                 )
                                         )


                             MEMORANDUM OPINION

      In 1995, Plaintiff Mohammad Hilmi Nassif & Partners (“Nassif” or “Plaintiff”),

a Jordanian entity, entered into a contract with Defendants Republic of Iraq and the

Ministry of Industry and Minerals of the Republic of Iraq (collectively, “Defendants”)

in which Defendants agreed to ship 450,000 tons of sulfur and 100,000 tons of urea to

settle an outstanding debt owed to Nassif. (See Compl., ECF No. 1, ¶ 11.) Defendants

subsequently failed to deliver the materials to Nassif. (See id. ¶ 13.) Thereafter, in

November of 2010, Nassif filed a lawsuit in the country of Jordan, alleging that

Defendants had breached the agreement. (See id. ¶ 14.) In September of 2015, the

Jordanian court found Defendants jointly and severally liable for breaching the contract

and awarded Nassif $53 million in damages. (See id. ¶ 16.) Neither defendant has paid

any portion of the judgment. (See id. ¶ 19.)

      Nassif filed the instant lawsuit to enforce the Jordanian judgment under the laws

of the District of Columbia—specifically, the Uniform Foreign-Country Money
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Judgments Recognition Act of 2011 (“UFCMJRA”), D.C. Code § 15-361 et seq.—in

October of 2017. (See id. ¶ 21.) Initially, Defendants failed to respond to Nassif’s

complaint, and the Clerk of the Court filed an entry of default as to each Defendant.

(See Clerk’s Entry of Default, ECF No. 14; Clerk’s Entry of Default, ECF No. 15.)

Nassif then filed a motion requesting that this Court issue a default judgment against

Defendants (see, e.g., Amended Mot. for Default J., ECF No. 24), and while that motion

was pending, Defendants noticed their appearances in the case. They also filed two

motions: one to set aside the Clerk’s entry of default (see Mot. to Set Aside Default,

ECF No. 29) and the other to dismiss Nassif’s complaint in its entirety (see Mot. to

Dismiss, ECF No. 28). This Court subsequently referred the case (including

Defendants’ two motions) to Magistrate Judge G. Michael Harvey for full case

management. (See Minute Order of Mar. 26, 2019.)

       In the motion to dismiss—which was filed pursuant to Federal Rules of Civil

Procedure 12(b)(1), 12(b)(5), and 12(b)(6)—Defendants argue (1) that this Court lacks

subject matter jurisdiction, because Defendants have sovereign immunity under the

Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1602 et seq.; (2) that service

of the complaint was improper, because Nassif failed to comply with the specific

service requirements of the FSIA; and (3) that Nassif’s complaint fails to state a claim

upon which relief can be granted, because the Jordanian judgment is “based on an

illegal agreement that violated the Iraqi Sanctions Regime” and therefore contravenes

the UFCMJRA. (Mot. to Dismiss at 1–2.) 1 Defendants’ motion to set aside the default


1Page-number citations to the documents that the parties have filed and the Report and
Recommendation refer to the page numbers that the Court's electronic filing system automatically




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strikes a similar chord, insofar as Defendants argue that, because service of process was

improper under the FSIA, they never formally received the complaint, which is good

cause for the Court to set the Clerk’s entry of default aside. (See Mot. to Set Aside

Default at 1.)

          Before this Court at present is a Report and Recommendation (“R&R”) that

Magistrate Judge Harvey has filed to articulate his findings and conclusions with

respect to each of the arguments that Defendants raised in their motion to dismiss. (See

R. & R., ECF No. 40.) 2 Generally speaking, and in relevant part, the R&R concludes

that Defendants explicitly waived their sovereign immunity under the FSIA. (See id. at

17.) Nevertheless, Magistrate Judge Harvey finds that Nassif failed to serve the

complaint properly on Defendants (see id. at 26), and that Nassif should be permitted to

reattempt service of its plausible complaint, rather than dismissing it (see id. at 28; see

also id. at 29 (concluding that the complaint sufficiently pleads a cognizable claim

under the UFCMJRA); id. at 35 (recommending that Defendants’ motion to dismiss be

denied)). Apparently contemplating further litigation once Nassif cures the service

defect, Magistrate Judge Harvey’s R&R also recommends that the Court grant

Defendants’ motion to set aside the Clerk’s entry of default (see id. at 34) and deny

Nassif’s amended motion for default judgment as moot (see id. at 35).

          Defendants timely filed an objection to Magistrate Judge Harvey’s R&R (see

Defs.’ Objs., ECF No. 42), to which Nassif responded (see Pl.’s Opp’n to Defs.’ Objs.




assigns.
2   The Report and Recommendation is attached hereto as Appendix A.




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(“Pl.’s Opp’n”), ECF No. 43). 3 Defendants then filed a reply. (See Defs.’ Reply to

Pl.’s Opp’n, ECF No. 44.) The entirety of Magistrate Judge Harvey’s findings and

conclusions, and all of the parties’ related filings, are now before the Court; however,

the Court finds that it need only address one of the issues that the R&R addresses: its

finding that Nassif had improperly served Defendants because the envelope in which

the complaint and summons were mailed “failed to identify the head of the Ministry of

Foreign Affairs by name or title” as the FSIA requires. (R. & R. at 25.) For the reasons

explained below, this Court agrees with Magistrate Judge Harvey’s findings regarding

service of process, and it further finds that the Court lacks personal jurisdiction over

Defendants until service is properly effected. Therefore, Magistrate Judge Harvey’s

R&R will be ADOPTED IN PART, and Nassif will be permitted to reattempt service.

Moreover, as the R&R suggests, Defendant’s motion to set aside the entry of default

must be GRANTED, and their motion to dismiss will be DENIED WITHOUT

PREJUDICE, while Nassif’s amended motion for default judgment will be DENIED

AS MOOT. 4 A separate Order consistent with this Memorandum Opinion will follow.




3 Under this Court’s local rules, if a party objects to a magistrate judge’s R&R, it must file a written
objection with the Clerk of the Court within 14 days of the party’s receipt of that report. See LCvR
72.3(b); see also Fed. R. Civ. P. 72(b)(2). Any such written objection must specify the portions of the
findings and recommendations to which each objection is made and the basis for each such objection.
See id. And when resolving objections, a district court must review a magistrate judge’s R&R de novo.
See Fed. R. Civ. P. 72(b)(3); 28 U.S.C. 636(b).
4If Nassif is successful when service of the complaint is reattempted, Defendants will have the
opportunity to answer or otherwise respond to the complaint under the Federal Rules of Civil
Procedure. See Fed. R. Civ. P. 12. They may opt to refile their motion to dismiss at that time.




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                                               I.

       The FSIA provides four methods for serving a complaint on a foreign state,

which must be attempted one-by-one and in a specified order. See 28 U.S.C. §

1608(a)(1)–(4); see also Barot v. Embassy of the Republic of Zambia, 785 F.3d 26, 27

(D.C. Cir. 2015). The third method of service is at issue in this case; in relevant part, it

requires that service be effected “by sending a copy of the summons and complaint and

a notice of suit . . . to be addressed . . . to the head of the ministry of foreign affairs of

the foreign state concerned[.]” 28 U.S.C. § 1608(a)(3) (emphasis added); (see also R.

& R. at 26).

       Here, Nassif attempted to serve Defendants pursuant to the third service method

by mailing an envelope that was addressed to the Iraqi Ministry of Foreign Affairs.

(See R. & R. at 25.) Magistrate Judge Harvey noted that Nassif “does not dispute that

the envelope sent to the Iraqi Ministry of Foreign Affairs was not addressed to the head

of the ministry.” (Id. (emphasis added).) Magistrate Judge Harvey also found that the

plain text of the statute and the relevant case law both support a finding that, in order

for an envelope to be properly “addressed” for FSIA purposes, the name of the head of

the ministry of foreign affairs must be “placed on the outside of the item to be sent.”

(Id. at 27 (quoting Rep. of Sudan v. Harrison, 139 S. Ct. 1048, 1057 (2019)).) Thus,

Magistrate Judge Harvey found that Nassif had “failed to comply with section

1608(a)(3), and [its] service was [therefore] improper.” (Id. at 26; see also id.

(explaining that even actual notice will not cure improper service) (citing Azadeh v.

Gov’t of Islamic Rep. of Iran, 318 F. Supp. 3d 90, 100 (D.D.C. 2018)).)




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       Notably, consistent with what other courts in this district have done under

similar circumstances, Magistrate Judge Harvey further recommended that this Court

permit Nassif to reattempt proper service rather than dismiss its case. (See id. at 27.) It

appears that, in the FSIA context, courts routinely analyze three factors when deciding

whether a plaintiff should be permitted to reattempt service in lieu of dismissal: “(1)

whether the attempted service ‘came very close to satisfying the [FSIA’s] requirements

. . . [thus] showing good faith’; (2) whether the statute of limitations on the plaintiff’s

claim has run; and (3) whether the defendant has identified any ‘particular prejudice’

that it would incur if the plaintiff were permitted to reattempt proper service.” (Id. at

28 (quoting Law Offices of Arman Dabiri & Assocs. P.L.L.C. v. Agric. Bank of Sudan,

No. 17-2497 (RDM), 2019 WL 231753, at *5 (D.D.C. Jan. 16, 2019)) (alterations in

original).) With respect to the defective service at issue here, Magistrate Judge Harvey

found that, while Nassif had come very close to effecting proper service in a manner

that demonstrates a good faith attempt (id. at 28), it would not be prejudiced by

dismissal of the instant case because the statute of limitations for enforcing the

Jordanian judgment has not yet run (id.). Yet, Magistrate Judge Harvey also found that

Defendants had not identified any harm that would befall them if Nassif were permitted

to reattempt service. (See id. at 28.) Consequently, according to the R&R, two of the

three commonly considered factors weigh in favor of Nassif, such that Nassif should be

permitted to reattempt service. (See id.)

       Defendants’ objections to the R&R transcend the service issue—i.e., Defendants

have addressed each of Magistrate Judge Harvey’s myriad findings about all of the

various issues raised in the motion to dismiss. But, not surprisingly, Defendants agree




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with Magistrate Judge Harvey’s findings and recommendations concerning Nassif’s

defective service, and they do not appear to oppose the R&R’s suggestion that Nassif be

provided with another opportunity to effect service properly. (See Defs.’ Objs. at 10–

11.) For its part, Nassif appears to concede that its service of process was not proper

under the FSIA. (See Pl.’s Opp’n at 11 n.1.) The remaining dispute between the parties

concerns what happens next: Defendants insist that, because service was improper, no

responsive pleading was required, and therefore, the balance of their motion to dismiss

is rendered moot. (See Defs. Objs. at 11.) By contrast, Nassif contends that the Court

should either adopt the R&R (the balance of which resolves the issues raised in the

motion to dismiss in Plaintiff’s favor), or, in the alternative, reserve ruling on the

R&R’s other conclusions until after proper service has been effected on Defendants.

(See Pl.’s Opp’n at 12–13.) For the reasons explained below, the Court finds it best to

deny Defendants’ motion to dismiss without prejudice and, effectively, set the R&R’s

conclusions aside—to be consulted, if necessary, once the complaint is properly served

and Defendants refile their motion to dismiss.

                                             II.

       To start, this Court agrees with all concerned that service of process was not

properly effected in this case. (See R. & R. at 26; Defs.’ Objs. at 10; Pl.’s Opp’n at 11–

12.) Given the lack of any dispute regarding the service defect, no additional analysis

of Magistrate Judge Harvey’s defective service findings need be provided here, and the

Court will proceed as follows. To the extent that Magistrate Judge Harvey’s R&R

correctly finds that service on Defendants was improper in this case, the Court adopts

that aspect of the R&R, and it further concludes that the defect in service renders the




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R&R’s analysis of Defendants’ other motion-to-dismiss arguments effectively moot.

This is because, due to the improper service, the Court lacks personal jurisdiction over

Defendants and cannot consider the rest of the issues addressed in the R&R at this time.

See, e.g., Jouanny v. Embassy of France in the United States, 220 F. Supp. 3d 34, 40

(D.D.C. 2016) (“Because Plaintiff failed to effect service, the court lacks jurisdiction to

do anything more in this case.”); Howe v. Embassy of Italy, 68 F. Supp. 3d 26, 32

(D.D.C. 2014) (first, explaining that “[i]f a plaintiff fails to perfect service [under the

FSIA], the court lacks personal jurisdiction over the foreign entity” and then, finding

improper service, declining to reach the remaining issues in the case for lack of

personal jurisdiction).

       The Court also sees fit to adopt Magistrate Judge Harvey’s recommendation that

Nassif be permitted to reattempt service, in lieu of dismissing the entire case, which is a

fully authorized and commonly permitted course of action in this district. See, e.g.,

Barot, 785 F.3d at 28 (reversing district court’s dismissal for improper service where

plaintiff came “very close” thus showing good faith, there was a “reasonable prospect

service [could] be obtained[,]” the statute of limitations had run, and there was no

prejudice to defendant); Hardy Expl. & Prod. (India), Inc. v. Gov't of India, 219 F.

Supp. 3d 50, 66–67 (D.D.C. 2016) (finding dismissal not appropriate where there was

“reasonable prospect service [could] be obtained[,]” plaintiff made a good faith effort at

compliance, the statute of limitations had run, and the defendant had not demonstrated

harm); Jouanny, 220 F. Supp. 3d at 39–40 (finding dismissal not appropriate where

there was “reasonable prospect service [could] be obtained” and defendant had

articulated no prejudice from allowing plaintiff to reattempt service). If Nassif is




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successful when service of the complaint is reattempted, Defendants will have the

opportunity to answer or otherwise respond to the complaint under Federal Rule of

Civil Procedure 12, and they can opt to file another motion to dismiss Plaintiff’s

properly served pleading—or not—at that time. (See supra n.4.)

       As a result, it is unnecessary, and potentially imprudent, for the Court to “reserve

its adoption of the R&R,” as Nassif requests. (Pl.’s Opp’n at 13.) In other words,

while the undisputed service defect presently renders the other arguments in

Defendants’ pending motion to dismiss moot such that the motion to dismiss must be

denied without prejudice, Magistrate Judge Harvey’s R&R remains on the record, and

its analysis can be referenced by the parties and the Court in the context of any

subsequent briefing that may occur if, in response to any properly re-served complaint,

Defendants file another motion to dismiss that raises the same issues that Magistrate

Judge Harvey’s R&R addresses. At the very least, the Court can, and likely will,

provide the parties with an opportunity to discuss the applicability of the R&R’s

findings and conclusions to any legal issues Defendants raise in a subsequent

dispositive motion.

                                            III.

       With respect to Magistrate Judge Harvey’s recommendation that the Clerk’s

entry of default be set aside because “[d]efault cannot be entered where there was

insufficient service of process” (see R. & R. at 31 (quoting Darby v. McDonald, 307

F.R.D. 254, 257 (D.D.C. 2014)) (alteration in original)), this Court agrees. Three

factors typically guide courts’ analysis of the issue of setting aside the Clerk’s entry of

default under Federal Rule of Civil Procedure 55(c)’s good cause standard: “whether




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‘(1) the default was willful; (2) a set-aside would prejudice the plaintiff, and (3) the

alleged defense was meritorious.’” (Id. at 32 (quoting Keegel v. Key W. & Caribbean

Trading Co., 627 F.2d 372, 373 (D.C. Cir. 1980)).) As relevant here, Magistrate Judge

Harvey determined that Defendants’ default cannot be deemed willful precisely because

Defendants had not been properly served (see R. & R. at 32), and that Nassif is not

prejudiced by a set-aside of the entry of default where it failed to effect proper service

(see id. at 33). Moreover, and in any event, it appears that neither party objects to

Magistrate Judge Harvey’s findings and conclusions in this regard.

       Thus, consistent with Magistrate Judge Harvey’s recommendation and the

findings of other courts that have considered motions to set aside entries of default, this

Court finds that default cannot be entered where a defendant was not properly served,

as a matter of law. See, e.g., Scott v. D.C., 598 F. Supp. 2d 30, 36 (D.D.C. 2009)

(“Default cannot be entered where there was insufficient service of process.”). Thus,

having already adopted Magistrate Judge Harvey’s finding that Nassif failed to effect

service properly, the Court will also adopt Magistrate Judge Harvey’s recommendation

that Defendants’ motion to set aside the Clerk’s entry of default be granted and that

Plaintiff’s amended motion for default judgment be denied as moot.

                                            IV.

       For the reasons explained herein, as set forth in the accompanying Order,

Magistrate Judge Harvey’s R&R (ECF No. 40) is ADOPTED IN PART, as follows:

       (a)    The Court adopts the finding of the Magistrate Judge that service of

process was improper in this case; moreover, Plaintiff will be permitted to reattempt

proper service in accordance with the FSIA. Consequently, Defendant’s motion to




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dismiss Plaintiff’s improperly served complaint (ECF No. 28) is moot, and will be

DENIED WITHOUT PREJUDICE.

      (b)    The Court also adopts the Magistrate Judge’s conclusion that the Clerk’s

entry of default must be set aside in light of the improper service. Therefore,

Defendants’ motion to set aside the Clerk’s entry of default (ECF No. 29) will be

GRANTED, and Plaintiff’s amended motion for default judgment (ECF No. 24) must

be DENIED AS MOOT.



DATE: March 25, 2020                     Ketanji Brown Jackson
                                         KETANJI BROWN JACKSON
                                         United States District Judge




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